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                              UNITED STATES DISTRICT COURT

                NORTHERN DISTRICT OF CALIFORNIA, SAN JOSE DIVISION

 APPLE INC., a California corporation,         CASE NO. 12-CV-00630-LHK (PSG)

               Plaintiff,                      [PROPOSED] ORDER GRANTING
                                                  SAMSUNG’S ADMINISTRATIVE
         vs.                                   MOTION TO FILE DOCUMENTS
                                                  UNDER SEAL RELATING TO
 SAMSUNG ELECTRONICS CO., LTD., a              SAMSUNG’S OPPOSITION TO APPLE’S
    Korean business entity; SAMSUNG               MOTION FOR PARTIAL SUMMARY
 ELECTRONICS AMERICA, INC., a New              JUDGMENT
    York corporation; SAMSUNG
 TELECOMMUNICATIONS AMERICA,
    LLC, a Delaware limited liability company,

                  Defendants.
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                                                               Case No. 12-CV-00630-LHK (PSG)
         [PROPOSED] ORDER GRANTING SAMSUNG’S ADMINISTRATIVE MOTION TO FILE DOCUMENTS
      UNDER SEAL RELATING TO SAMSUNG’S OPPOSITION TO APPLE’S MOTION FOR PARTIAL SUMMARY
                                                                                  JUDGMENT
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 1         Samsung Electronics Co. Ltd., Samsung Electronics America, Inc., and Samsung

 2 Telecommunications America, LLC (collectively, “Samsung”) has filed an Administrative Motion

 3 to File Documents Under Seal Relating to Samsung’s Opposition to Apple’s Motion for Partial

 4 Summary Judgment. The Court finds that Samsung’s sealing request is narrowly tailored and

 5 justified. Therefore, the following documents or portions thereof may be filed under seal

 6 consistent with Samsung’s requests:

 7         1.      The confidential, unredacted version of Samsung’s Opposition to Apple’s Motion

 8 for Partial Summary Judgment.

 9         2.      Exhibit 2 to the Declaration of Michael L. Fazio in Support of Samsung’s

10 Opposition to Apple’s Motion for Partial Summary Judgment, excerpts of the deposition transcript

11 of Dr. Alex Snoeren, dated September 25-26, 2013.

12         3.      Exhibit 3 to the Declaration of Michael L. Fazio in Support of Samsung’s

13 Opposition to Apple’s Motion for Partial Summary Judgment, excerpts of the Opening Expert

14 Report of Dr. Alex Snoeren, dated August 12, 2013.

15         4.      Exhibit 4 to the Declaration of Michael L. Fazio in Support of Samsung’s

16 Opposition to Apple’s Motion for Partial Summary Judgment, excerpts of the Rebuttal Expert

17 Report of Dr. Alex Snoeren, dated September 13, 2013.

18         5.      Exhibit 5 to the Declaration of Michael L. Fazio in Support of Samsung’s
19 Opposition to Apple’s Motion for Partial Summary Judgment, excerpts of the deposition transcript

20 of Paul Westbrook, dated June 11, 2013.

21         6.      Exhibit 6 to the Declaration of Michael L. Fazio in Support of Samsung’s

22 Opposition to Apple’s Motion for Partial Summary Judgment, Exhibit E to the Expert Report of

23 John Hauser, dated August 12, 2013.

24         7.      Exhibit 7 to the Declaration of Michael L. Fazio in Support of Samsung’s

25 Opposition to Apple’s Motion for Partial Summary Judgment, excerpts of the deposition transcript

26 of Fred Quintana, dated June 13, 2013.
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                                            -1-               Case No. 12-CV-00630-LHK (PSG)
         [PROPOSED] ORDER GRANTING SAMSUNG’S ADMINISTRATIVE MOTION TO FILE DOCUMENTS
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                                                                                 JUDGMENT
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 1          8.     Exhibit 17 to the Declaration of Michael L. Fazio in Support of Samsung’s

 2 Opposition to Apple’s Motion for Partial Summary Judgment, excerpts of the Opening Expert

 3 Report of Dr. Richard Taylor, dated August 12, 2013.

 4          9.     Exhibit 18 to the Declaration of Michael L. Fazio in Support of Samsung’s

 5 Opposition to Apple’s Motion for Partial Summary Judgment, excerpts of the deposition transcript

 6 of Dr. Richard Taylor, dated September 27, 2013.

 7          10.    Exhibit 20 to the Declaration of Michael L. Fazio in Support of Samsung’s

 8 Opposition to Apple’s Motion for Partial Summary Judgment, excerpts of Samsung’s Invalidity

 9 Claim Chart For U.S. Patent No. 6,847,959, Exhibit C-21.

10          11.    Exhibit 21 to the Declaration of Michael L. Fazio in Support of Samsung’s

11 Opposition to Apple’s Motion for Partial Summary Judgment, excerpts of the Rebuttal Expert

12 Report of Dr. Richard Taylor, dated September 13, 2013.

13          12.    The confidential, unredacted version of the Declaration of Dr. Kevin Jeffay in

14 Support of Samsung’s Opposition to Apple’s Motion for Partial Summary Judgment Concerning

15 U.S. Patent No. 5,946,647, filed herewith.

16          13.    The confidential, unredacted version of the Declaration of Jeffrey S. Chase, Ph.D.,

17 in Support of Samsung’s Opposition to Apple’s Motion for Summary Judgment, filed herewith.

18          14.    The confidential, unredacted version of the Declaration of Paul Westbrook in
19 Support of Samsung’s Opposition to Apple’s Motion for Partial Summary Judgment.

20          15.    The confidential, unredacted version of the Declaration of Martin Rinard in

21 Support of Samsung’s Opposition to Apple’s Motion for Partial Summary Judgment, and

22 Exhibit 1 thereto, filed herewith.

23          16.    The confidential, unredacted version of the Declaration of Professor Dan Schonfeld

24 In Support of Samsung’s Opposition to Apple’s Motion for Summary Judgment and to Exclude

25 Expert Testimony, and Exhibits D through EE, and Exhibit GG thereto, filed herewith.

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                                            -2-               Case No. 12-CV-00630-LHK (PSG)
         [PROPOSED] ORDER GRANTING SAMSUNG’S ADMINISTRATIVE MOTION TO FILE DOCUMENTS
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 1         Accordingly, for compelling reasons shown, the Court HEREBY ORDERS that these

 2 documents may be filed under seal.

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 4 DATED:
                                                   The Honorable Lucy H. Koh
 5                                                 United States District Judge
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                                            -3-               Case No. 12-CV-00630-LHK (PSG)
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